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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                          1/4/2022

DISH NETWORK L.L.C. and SLING TV
L.L.C.,

                  Plaintiffs,                      Case No. 19-CV-00021-VSB-BCM

               -against-

ASIA TV USA LTD. and ASIA TODAY                    [PROPOSED] AMENDED
LTD.,                                              SCHEDULING ORDER

                  Defendants.



       WHEREAS, Defendants Asia TV USA Ltd., Asia Today Ltd. and Living Communications,

Inc. (collectively, “Defendants”) respectfully request that the discovery deadlines currently in

effect be extended as follows:

             Task                     Current Deadline            [Proposed] New Deadline
        Fact Discovery                 January 27, 2022                February 26, 2022

       Expert Discovery                 April 14, 2022                   May 14, 2022


           1. Fact Discovery. All remaining fact discovery, including fact depositions, shall be

               completed by February 26, 2022.

           2. Expert Discovery. All expert discovery, including disclosures, reports, production

               of underlying documents, and depositions shall be completed by May 14, 2022.

           3. Joint Status Letter. The February 10, 2022 deadline for submission of the parties’

               joint status letter to the Court (ECF No. 450) is reset to ____________________.
                                                                             March 14, 2022

           4. Status Conference. The status conference currently set for February 17, 2022 (ECF

                                                  March 17, 2022
               No. 450) is hereby adjourned to _______________________      10:00 a.m. in
                                                                       at ____________

               Courtroom 20A of the Daniel Patrick Moynihan United States Courthouse.




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IT IS SO ORDERED


         January 4, 2022
DATED: ____________________


____________________________________
HONORABLE BARBARA MOSES
United States Magistrate Judge




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